                                    Case 20-13223-AJC               Doc 29           Filed 05/18/20     Page 1 of 3
                              UNITED STATES BANKRUPTCY COURT, SOUTHERN DISTRICT OF FLORIDA
                                                             www.flsb.uscourts.gov
                                                 CHAPTER 13 PLAN (Individual Adjustment of Debts)
                                                              Original Plan
                        ■   2nd                                     Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                                                                    Modified Plan (Indicate 1st, 2nd, etc. Modified, if applicable)

DEBTOR: Eugenio Reyes                                    JOINT DEBTOR: Maideily Saraiba                      CASE NO.: 20-13223-AJC
SS#: xxx-xx- 9510                                            SS#: xxx-xx-3069
I.          NOTICES
            To Debtors:        Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amended plans
                               and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pursuant to
                               Local Rules 2002-1 (C)(5), 3015-1(B)(2), and 3015-2. Debtor(s) must commence plan payments within 30 days of
                               filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13.
            To Creditors:      Your rights may be affected by this plan. You must file a timely proof of claim in order to be paid. Your claim may
                               be reduced, modified or eliminated.
            To All Parties:    The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must check one
                               box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section III, which may result in a
                                                                                                              ■   Included                Not included
  partial payment or no payment at all to the secured creditor
  Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest, set
                                                                                                                  Included            ■   Not included
  out in Section III
  Nonstandard provisions, set out in Section VIII                                                                 Included            ■   Not included
II.         PLAN PAYMENTS, LENGTH OF PLAN AND DEBTOR(S)' ATTORNEY'S FEE

            A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, including trustee's
               fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the full 10%, any unused
               amount will be paid to unsecured nonpriority creditors pro-rata under the plan:


                   1.   $331.41              for months      1   to 60 ;

            B. DEBTOR(S)' ATTORNEY'S FEE:                                                NONE     PRO BONO
        Total Fees:               $4175.00            Total Paid:            $1190.00           Balance Due:           $2985.00
        Payable             $119.40          /month (Months 1       to 25 )
        Allowed fees under LR 2016-l(B)(2) are itemized below:
        $3500 Attorneys Fees + 525 MTV PP +$150 Cost = $4175

        Applications for compensation must be filed for all fees over and above the Court's Guidelines for Compensation.
III.        TREATMENT OF SECURED CLAIMS
            A. SECURED CLAIMS:               ■   NONE
            [Retain Liens pursuant to 11 U.S.C. §1325 (a)(5)] Mortgage(s)/Lien on Real or Personal Property:
            B. VALUATION OF COLLATERAL:                     NONE
                   IF YOU ARE A SECURED CREDITOR LISTED BELOW, THE PLAN SEEKS TO VALUE THE COLLATERAL
                   SECURING YOUR CLAIM IN THE AMOUNT INDICATED. A SEPARATE MOTION WILL ALSO BE SERVED UPON
                   YOU PURSUANT TO BR 7004 AND LR 3015-3.
                   1. REAL PROPERTY:             ■   NONE
                   2. VEHICLES(S):       ■   NONE
                   3. PERSONAL PROPERTY:                    NONE



LF-31 (rev. 10/3/17)                                                       Page 1 of 3
                                         Case 20-13223-AJC                 Doc 29           Filed 05/18/20       Page 2 of 3
                                                                               Debtor(s): Eugenio Reyes, Maideily Saraiba         Case number: 20-13223-AJC

         1. Creditor: TD Retail Card Services                  Value of Collateral:                  $1,400.00                      Payment
              Address: c/o Creditors Bankruptcy                Amount of Creditor's Lien:            $4,445.00    Total paid in plan:         $1,400.00
                       Serv
                       POB 800849
                       Dallas, TX 75380                        Interest Rate:         0.00%                           $23.33      /month (Months    1 to 60 )

         Last 4 Digits of Account No.:                0074
         Description of Collateral:
         Furniture


         Check one below:
            Claim incurred less than one year pre-
            petition
            Claim incurred 1 year or more pre-
          ■
            petition
            C. LIEN AVOIDANCE                    ■    NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
               distribution fom the Chapter 13 Trustee.
                       ■    NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distribution
               fom the Chapter 13 Trustee.
                            NONE
                       ■    The debtor(s) elect to make payments directly to each secured creditor listed below. The debtor(s) request that upon
                            confirmation of this plan the automatic stay be terminated in rem as to the debtor(s) and in rem and in personam as to any
                            codebtor(s) as to these creditors. Nothing herein is intended to terminate or abrogate the debtor(s)' state law contract rights.
                             Name of Creditor                Last 4 Digits of Account No. Description of Collateral (Address, Vehicle, etc.)
                             Suntrust Bank                   7771                         365 Linwood Drive, Miami Springs, FL 33166
                       1.
IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in 11 U.S.C. §507 and 11 U.S.C. § 1322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER THAN DEBTORS(S)' ATTORNEY'S FEE:                                            ■   NONE
            B. INTERNAL REVENUE SERVICE:                               NONE
              Total Due:                  $7,712.00                Total Payment                $7,712.00
               Payable:                $128.53          /month (Months     1       to 60 )


            C. DOMESTIC SUPPORT OBLIGATION(S):                             ■    NONE
            D. OTHER:              ■   NONE
V.          TREATMENT OF UNSECURED NONPRIORITY CREDITORS
               A. Pay               $27.01           /month (Months    1       to 25 )
                       Pay         $146.41           /month (Months 26         to 60 )
                       Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.
               B.            If checked, the Debtor(s) will amend/modify to pay 100% to all allowed unsecured nonpriority claims.
               C. SEPARATELY CLASSIFIED:                       ■    NONE
              *Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority
              creditors pursuant to 11 U.S.C. § 1322.
VI.         EXECUTORY CONTRACTS AND UNEXPIRED LEASES: Secured claims filed by any creditor/lessor granted stay relief in this
            section shall not receive a distribution from the Chapter 13 Trustee.
                       ■    NONE
LF-31 (rev. 10/3/17)                                                              Page 2 of 3
                                        Case 20-13223-AJC               Doc 29         Filed 05/18/20      Page 3 of 3
                                                                          Debtor(s): Eugenio Reyes, Maideily Saraiba          Case number: 20-13223-AJC
VII.        INCOME TAX RETURNS AND REFUNDS:                             NONE
                       ■   The debtor(s) is hereby advised that the chapter 13 trustee has requested that the debtor(s) comply with 521(f) 1-4 on an
                           annual basis during the pendency of this case. The debtor(s) hereby acknowledges that the deadline for providing the
                           Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s) shall
                           provide the trustee (but not file with the Court) with verification of their disposable income if their gross household income
                           increases by more than 3% over the previous year’s income. [Miami cases]
VIII.       NON-STANDARD PLAN PROVISIONS                        ■   NONE


                           PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

   I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.


                                                Debtor                                                                 Joint Debtor
  Eugenio Reyes                                                  Date                  Maideily Saraiba                                     Date



  /s/Robert Sanchez, Esq.                           May 18, 2020
    Attorney with permission to sign on                       Date
             Debtor(s)' behalf
   By filing this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies that the wording and
   order of the provisions in this Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and the plan
   contains no nonstandard provisions other than those set out in paragraph VIII.




LF-31 (rev. 10/3/17)                                                         Page 3 of 3
